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CITIZEN’S COMPLAINT FORM

Citizen Complainant:
Age: 22 DOB:
Address:
Today's Date:
Date of Occurrence: September 7, 2008
Time of Occurrence: 0230

Location of Occurrence: 1031 Main Street
Officer(s) Involved; Officer
Officer Taking Complaint: Set.

N. arrative of Complaint:
_On September 7, 2008 at approximately 0230 hours, ee on the parking lot of
Woody’s at 1031 Main Street, Pee ind been inside the club and left it at around closing

time. a being picked up by her younger sister The two sisters were
waiting for a itiend known to them as “T”, Also on the parking lot were several members of

an out-of-town semipro football team as well as other club patrons. An officer, believed to be
oftce approached the women and ordered them to leave the parking lot. The
women explained they were waiting for “T” and would leave as soon as she got to the car.
The officer then moved on to members of the football team who were standing near a team
van. The officer ordered the football team members to leave the area, The players explained
that they were waiting for their coach, who had the keys to the van, One of the football
players was sprayed in the face with pepper spray. The officers then again ordered him to
leave. The man explained that he was blinded by the spray and had nowhere to go. A second
player went to the assistance of the first. He too was ordered to leave. The players again told
the officers they were waiting on their coach. Officer ME] who was armed with a pepperball
gun, then began firing at the second player. The second player was covered with the powder
from the pepperballs and was now blinded, The officers continued firing at him and ordering
him to leave. then grabbed the second player and helped him into the rear driver’s
side of her car. The team’s coach arrived and got into the passenger side rear. en
began to drive across the lot in an effort to leave. Officer followed the car across the lot
and continued to fire pepperballs into the car through the rear driver's side window. Several
of the pepperballs exploded inside the car, covering the occupants with powder. was
blinded by the powder and she began having an asthmatic reaction to the powder. She -
stopped the car on the lot and exited it while a the car in park. The football
player exited the backseat and collapsed in front of the car. told the officers to call an |
ambulance for her sister and the officers claimed as “faking” it, An officer did |
however request an ambulance. An ambulance arrived sometime Jater and transported
the hospital. left and drove to her mother’s house. The players and

@ Page 1 .
EXHIBIT

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coach left together. and her mother PT cctumea to Woody’s and spoke with
several of the officers on scene.

feels the use of the pepper spray canister and pepperball launchers was
unnecessary and excessive, ane scid there were no fights going on and the football

players were not causing a problem; they were simply waiting for their ride when the officers
began spraying the men. rg although she and her sister tried to comply with
the officers’ orders to leave, Officer ontinued to fire several more pepperballs into her

moving car. This created a dangerous situation in which the driver of a moving vehicle on a

crowded parking lot was incapacitated by the pepper balls. said it was apparent that
Officer a vas targeting the second player. No one was atrested although the second

player could have been easily taken into custody while he was lying on the ground.

[eee affirm under the penalties of perjury that the foregoing representations are
true and correct to the best of my knowledge.

STATE OF INDIANA ).
COUNTY OF VANDERBURGH )
CITY OF EVANSVILLE )

SS:

Signature of Complainant

Ss:

Signature of Complainant

SUBSCRIBED AND SWORN to before me a Notary Public, in and for said City, County, and State,

This day of , 2008

Notary Public

My Commission Expires:

Residence of Notary Public; Vanderburgh County, Indiana

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Formal Complaint Synopsis

Formal Complaint #: 08-EAD-013
Complainant:
Accused Officer(s): Officer
Nature of Complaint: Excessive Force

Complainant’s Statement:

On September 7, 2008 at approximately 0230 hours, was on the parking lot of
Woody’s at 1031 Main Street. had been inside the club and left it at around closing
time. was being picked up by her younger sister . The two sisters were
waiting for a friend known to them as “T”. Also on the parking lot were several members of an
‘out-of ipro football team as well as other club patrons, An officer, believed to be
Otter ead approached the women and ordered them to leave the parking lot. The
women explained they were waiting for “T” and would leave as soon as she got to the car. The.
officer then moved on to members of the football team who were standing near a team van. The
officer ordered the football team members to leave the area. The players explained that they
were waiting for their coach, who had the keys to the van. One of the football players was
sprayed in the face with pepper spray by a police officer. The officers then again ordered him to.
leave. The man éxplained that he was blinded by the spray and had nowhere to go. A second
player went to the assistance of the first. He too was ordered to leave. The players again told the
officers they were waiting on their coach. Officer [iJ who was armed with a pepperball gun,
then began firing at the second player. The second player was covered with the powder from the
pepperballs and was now blinded. The officers continued firing at him and ordering him to
leave. en grabbed the second player and helped him into the rear driver’s side of her
car. The team’s coach arrived and got into the passenger side rear. then began to drive
across the lot in an effort to leave. Officer [MJ followed the car across the lot and continued to
fire pepperballs into the moving car through the rear driver’s side window. f the
pepperballs exploded inside the car, covering the occupants with powder. Eat blinded
€ stopped the car on

by the powder and she began having an asthmatic reaction to the powder.
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scat and collapsed in front of the car. told the officers to call an ambulance for her
sister and the officers claimed was “faking” it. An officer did however request an
ambulance. An ambulance arrived sometime later and transported (MBM io the hospital.
left and drove to her mother’s house. The players and coach left together.
her mother Pe ctumed to Woody’s and spoke with several of the officers on scene.

ae: the use of the pepper spray canister and pepperball launchers was unnecessary
and excessive. said there were no fights going on and the football players were not

causing a problem; they were simply waiting for their ride when the officers began spraying the .
men. Ss that although she and her sister tried to comply with the officers’ orders to
leave, Officer continued to fire several more pepperballs into her moving car. This created
a dangerous situation in which the driver of a moving vehicle on a crowded parking lot was
incapacitated by the pepper balls, Shaquita said it was apparent that Officer Eek... targeting
the second player. No one was arrested although the second player could have been easily taken

and

